          CASE 0:18-cv-00066-JRT-BRT Doc. 49 Filed 02/07/20 Page 1 of 1

                        UNITED STATES DISTRICT COURT
                                       District of Minnesota



Kristin Pett,                                      JUDGMENT IN A CIVIL CASE
                                 Plaintiff,
v.                                                       Case Number: 18-cv-66 JRT/BRT
Costco Wholesale Corporation,

                                 Defendant.



☐ Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
   and the jury has rendered its verdict.

☒ Decision by Court. This action came to trial or hearing before the Court. The issues have
  been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:

        this action is DISMISSED WITH PREJUDICE without costs, disbursements, and fees

        to any party.




     Date: 2/7/2020                                        KATE M. FOGARTY, CLERK

                                                                 s/Cara Kreuziger
                                                       (By) Cara Kreuziger, Deputy Clerk
